               Case 1:18-cv-03254-LMM-RGV Document 14 Filed 09/18/18 Page 1 of 1




                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

             NANCY SNYDER,                        :
                                                  :
                       Plaintiff,                 :
                                                  :      CIVIL ACTION NO.
                         v.                       :
                                                  :      1:18-CV-3254-LMM-RGV
             DELTA AIRLINES, INC.,                :
                                                  :
                       Defendant.                 :

                                              ORDER

                   Pending before the Court is “Plaintiff’s Unopposed Consent Motion to Enlarge

             Plaintiff’s Response Deadline to Defendant’s Motion to Dismiss,” [Doc. 13], and for

             good cause shown, the motion is GRANTED. The time for the plaintiff to respond

             to defendant’s Motion to Dismiss, [Doc. 12], is extended through and including

             October 2, 2018.

                   SO ORDERED this 18th day of SEPTEMBER, 2018.




                                                  RUSSELL G. VINEYARD
                                                  UNITED STATES MAGISTRATE JUDGE




AO 72A
(Rev.8/82)
